              Case 2:19-cr-00159-RSL Document 175 Filed 01/14/22 Page 1 of 3




 1                                                             The Honorable Robert S. Lasnik
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 7                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
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10
       UNITED STATES OF AMERICA,                        NO. CR19-159 RSL
11
                            Plaintiff
                                                        UNITED STATES’ SUPPLEMENTAL
12
                                                        FILING RELATING TO
13                                                      DEFENDANT’S MOTION TO STRIKE
                       v.
                                                        CRYPTOJACKING ALLEGATIONS
14
       PAIGE A. THOMPSON,                               AND TO SEVER COUNT 8
15
                            Defendant.
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17
            Defendant, Paige Thompson, has filed a motion to strike from Count 1 the
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     allegation that she engaged in cryptojacking and to sever Count 8, which charges her with
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     damaging protected computers by engaging in cryptojacking and deleting records of that
20
     cryptojacking. See Docket No. 124. As part of her reply in support of her motion,
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     Thompson argues that the Court should grant the motion because there supposedly is no
22
     evidence that Thompson used servers belonging to Victim 7 and Victim 8, both of which
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     also were victims of Thompson’s data theft, to perform cryptojacking. See Docket No.
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     163, at 6-8.
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            Thompson’s filing misstates the record. First, as the exhibits to Thompson’s reply
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     make clear, Victim 7 had unauthorized virtual servers created on its account that resulted
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     in it being billed more than $40,000 by Amazon Web Servers (AWS). See Docket No.
28
      UNITED STATES’ SUPPLEMENTAL FILING RELATNG TO                     UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
      DEFENDANT’S MOTION TO STRIKE CRYPTOJACKING                         SEATTLE, WASHINGTON 98101
      ALLEGATIONS AND TO SEVER COUNT 8 - 1                                     (206) 553-7970
      United States v. Thompson, CR19-159 RSL
             Case 2:19-cr-00159-RSL Document 175 Filed 01/14/22 Page 2 of 3




 1 163, Ex. 3, at 2. Although, Victim 7 was unable to determine that these were used for
 2 cryptocurrency mining (because Thompson’s scripts deleted the unauthorized software
 3 and related logs), it is significant that this occurred during the timeframe in which
 4 Thompson was hacking AWS clients, including Victim 7. It also is significant that the
 5 unauthorized commands “came from an AWS IAM role” that was “associated with
 6 [Victim 7’s] instance,” See id. at 1. This is the exact attack vector used by Thompson.
 7 This obviously is evidence that Thompson used Victim 7’s rented servers at AWS to
 8 conduct cryptocurrency mining.
 9         Second, although Thompson’s reply does not mention it, Thompson’s counsel
10 asked the government, in April 2021, to identify discovery supporting the allegation that
11 Thompson used victim servers to engage in cryptocurrency mining. In response, the
12 government provided a detailed summary of forensic evidence from Thompson’s seized
13 computers that showed that Thompson engaged in such activity. (That response is
14 attached as Exhibit A to this filing.) The response identifies various computer scripts that
15 Thompson used to conduct this activity. In particular, it identifies scripts used to plant
16 cryptocurrency-mining software on Victim 8’s rented servers at AWS.
17         As a result, there is (and Thompson has been provided) evidence that shows that
18 she used servers of both Victim 7 and Victim 8 to conduct cryptocurrency mining. For
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     UNITED STATES’ SUPPLEMENTAL FILING RELATNG TO                      UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     DEFENDANT’S MOTION TO STRIKE CRYPTOJACKING                          SEATTLE, WASHINGTON 98101
     ALLEGATIONS AND TO SEVER COUNT 8 - 2                                      (206) 553-7970
     United States v. Thompson, CR19-159 RSL
             Case 2:19-cr-00159-RSL Document 175 Filed 01/14/22 Page 3 of 3




 1 the foregoing reasons, as well as those stated in the government’s original opposition to
 2 Thompson’s motion, the Court should deny the motion.
 3         DATED: January 14, 2022.
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                                                    Respectfully submitted,
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                                                    United States Attorney
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     ALLEGATIONS AND TO SEVER COUNT 8 - 3                                     (206) 553-7970
     United States v. Thompson, CR19-159 RSL
